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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA

AKANINYENE EFIONG AKAN,                      )
                                             )
         Plaintiff,                          )
                                             )
                 v.                          )       Civil Action No. 17-89
                                             )
ADAM SUMMERS, NEIL                           )
REINSFELDER, STEVEN CENTRA,                  )
RUFUS JONES, GREGORY BOSS                    )
sued in their individual and official        )
capacities),                                 )
                                             )
         Defendants.                         )

                                            ORDER

         AND NOW, this 16th day of August, 2018, upon consideration of the document filed by

plaintiff Akaninyene Efiong Akan (“plaintiff”) titled “Notice of Grounds for Reconsideration

and Discharge of Order Entered on December 5, 2017,” (ECF No. 49), which the court construes

as a motion pursuant to Federal Rule of Civil Procedure 59(e) for reconsideration of the court’s

December 5, 2017 final order dismissing his case, (ECF No. 31), and in accordance with the

foregoing memorandum opinion,

         IT IS HEREBY ORDERED that the motion for reconsideration IS DENIED as untimely

filed.

                                                     By the court:

                                                     /s/ Joy Flowers Conti
                                                     Joy Flowers Conti
                                                     United States District Judge
cc: AKANINYENE EFIONG AKAN
    KP-8782
    SCI Forest
    P.O. Box 945
    Marienville, PA 16239-0945
    (via First-Class mail)


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